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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 PHYSICIANS HEALTHSOURCE, INC., an
 Ohio corporation, individually and as the
 putative representative of a class of similarly-
 situated persons,

                         Plaintiff,

                        v.                             Civil Action No. 1:15-cv-11517-JCB

 VERTEX PHARMACEUTICALS
 INCORPORATED, TACTICAL
 ADVANTAGE GROUP, LLC and
 JOHN DOES 1-10,

                        Defendants.


                                           JUDGMENT

                                          March 21, 2019

Boal, M.J.

       In accordance with this Court’s Final Order Approving Class Action Settlement dated

September 17, 2018 and this Court’s Order on Plaintiff’s Petition for an Award of Attorney’s

Fees, Reimbursement of Expenses, and Named Plaintiff’s Incentive Award dated March 21,

2019, it is hereby ordered that the above-entitled action be and hereby is dismissed.

                                               /s/ Jennifer C. Boal
                                              Honorable Jennifer C. Boal
                                              United States Magistrate Judge
